                                             January 7, 2025

VIA ECF
Hon. Valerie E. Caproni
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Alexander et al., Docket No. 24-CR-00676 (VEC)

Dear Judge Caproni:

        On behalf of defendants Tal Alexander and Alon Alexander, we submit this letter
respectfully requesting that the Court extend the defendants’ respective stays of removal to the
Southern District of New York through the date of the hearing on their appeals of their detention
orders. We make this request so that undersigned counsel can continue to communicate with the
defendants to prepare for this upcoming hearing. We understand that if the defendants are
removed, it may be difficult to communicate with them while they are in transit, and that the period
of transit may comprise a substantial portion of the next week or longer. As we have previously
stated, we intend to waive their appearances at the hearing. The government takes no position on
this motion.

        Tal Alexander previously requested that this Court stay removal from the Southern District
of Florida on December 24, 2024 (ECF No. 9), which the Court granted through the earlier of
January 6, 2025 or when removal was ordered for either of the codefendants in this matter (ECF
No. 13). With respect to Alon Alexander, the Honorable Magistrate Judge Eduardo I. Sanchez in
the Southern District of Florida granted Alon Alexander’s request to stay removal through January
7, 2025. See 24-MJ-04616 (EIS), ECF No. 23 (S.D. Fla.).

       Thank you for your consideration.

                                             Respectfully submitted,

                                             /s/ Milton L. Williams
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cc:   All counsel via ECF




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